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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10   AMAZON.COM, INC., a Delaware
     corporation; and SALVATORE FERRAGAMO                   No.
11   S.P.A., an Italian corporation,
                                                            COMPLAINT FOR DAMAGES
12                             Plaintiffs,                  AND EQUITABLE RELIEF
13          v.
14   LI YONG, an individual d/b/a PHIL
     BALDINIE;
15   YANTAITIANMINGWANGLUOKEJIYOUXI
     ANGONGSI, a Chinese entity d/b/a PHIL
16   BALDINIE; WU PIANPIAN, an individual
     d/b/a HEFEI YANZI TRADING COMPANY;
17   HEFEIZANZISHANGMAOYOUXIANGONG
     SI, a Chinese entity d/b/a HEFEI YANZI
18   TRADING COMPANY; and DOES 1-10,
19                             Defendants.
20

21                                      I.     INTRODUCTION
22          1.      This case involves the Defendants’ unlawful and expressly prohibited sale of
23   counterfeit Salvatore Ferragamo S.p.A. (“Ferragamo”) belts on Amazon.com. Amazon and
24   Ferragamo jointly bring this lawsuit to permanently prevent and enjoin Defendants from
25   causing future harm to Amazon’s and Ferragamo’s customers, reputations, and intellectual
26   property, and to hold Defendants accountable for their illegal actions.
27          2.      The Amazon store offers products and services to customers in more than 100

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 1   countries around the globe. Some of the products are sold directly by Amazon, while others are

 2   sold by Amazon’s numerous third-party selling partners. The Amazon brand is one of the most

 3   well-recognized, valuable, and trusted brands in the world. In order to protect customers and

 4   safeguard its reputation for trustworthiness, Amazon invests heavily in both time and resources

 5   to prevent counterfeit goods from being sold in its store. In 2019 alone, Amazon invested over

 6   $500 million and employed more than 8,000 employees to protect its store from fraud and

 7   abuse. Amazon stopped over 2.5 million suspected bad actor selling accounts before they

 8   published a single listing for sale and blocked more than six billion suspected bad listings

 9   before they were published. As a result of these efforts and investment, 99.9% of all products

10   viewed by customers on Amazon did not have a valid counterfeit complaint.

11          3.      Ferragamo, which has always been a byword for top quality and Made in Italy

12   products, is one of the main players in the luxury industry and its origins date back to 1927.

13   Ferragamo is mainly active in the creation, production and sale of footwear, leather goods,

14   apparel, silk products, and other accessories, as well as fragrances for men and women. Taking

15   into account the entire distribution network, Ferragamo is present in over 90 countries all over

16   the world with several retail stores in the United States, including one in Bellevue, Washington.

17   Ferragamo works constantly to consolidate and increase over time the value of the brand and

18   maintain high quality standards for the products and distribution processes through investments

19   in research, product innovation, IT and business support.

20          4.      Ferragamo owns, manages, enforces, licenses, and maintains intellectual

21   property, including various trademarks. Relevant to this Complaint, Ferragamo owns the

22   following registered trademarks (“Ferragamo Trademarks”).

23                              Mark                       Registration No. (International
                                                                      Classes)
24
                   SALVATORE FERRAGAMO                     1,016,032 (IC 010, 025, 026)
25

26
27

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                                                          1,208,600 (IC 026)
 1

 2

 3
                                                          1,609,161 (IC 025)
 4

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 7
                                                          2,051,981 (IC 025)
 8

 9

10
                                                          4,514,247 (IC 018, 025)
11

12

13
                                                          4,578,196 (IC 018, 025)
14

15

16
                                                          6,127,042 (IC 025)
17

18

19

20
     True and correct copies of the registration certificates for the Ferragamo Trademarks are
21
     attached as Exhibit A.
22
            5.      From 2019 through 2020, Defendants advertised, marketed, offered, and sold
23
     counterfeit Ferragamo products in the Amazon store, using Ferragamo’s registered trademarks,
24
     without authorization, to deceive customers about the authenticity and origin of the products
25
     and the products’ affiliation with Ferragamo.
26
27

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 1          6.      As a result of their illegal actions, Defendants have infringed and misused

 2   Ferragamo’s intellectual property (“IP”), willfully deceived and harmed Amazon, Ferragamo,

 3   and their customers, compromised the integrity of the Amazon store, and undermined the trust

 4   that customers place in Amazon and Ferragamo. Defendants’ illegal actions have caused

 5   Amazon and Ferragamo to expend significant resources to investigate and combat Defendants’

 6   wrongdoing and to bring this lawsuit to prevent Defendants from inflicting future harm to

 7   Amazon, Ferragamo, and their customers.

 8                                           II.     PARTIES
 9          7.      Amazon.com, Inc. is a Delaware corporation with its principal place of business

10   in Seattle, Washington. Through its subsidiaries, Amazon.com, Inc. owns and operates the

11   Amazon.com website, counterpart international websites, and the Amazon store (collectively,

12   “Amazon”).

13          8.      Ferragamo is an Italian corporation with its principal place of business in

14   Florence, Italy.

15          9.      Defendants are a collection of individuals, both known and unknown, who

16   conspired and operated in concert with each other to engage in the counterfeiting scheme

17   alleged in this Complaint. In many cases, Defendants took intentional and affirmative steps to

18   hide their true identities and whereabouts from Amazon and Ferragamo by using fake names

19   and contact information, and unregistered businesses to conduct their activities. Defendants are

20   subject to liability for their wrongful conduct both directly and under principles of secondary

21   liability including, without limitation, respondeat superior, vicarious liability, and/or

22   contributory infringement.

23          10.     On information and belief, Defendant Li Yong, d/b/a Phil Baldinie, is an

24   individual who personally participated in and/or had the right and ability to supervise, direct,

25   and control the wrongful conduct alleged in this Complaint, and derived a direct financial

26   benefit from that wrongful conduct. Based on information provided to Amazon in connection

27

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 1   with an Amazon Selling Account, he may reside in either Walnut, California; Durham, North

 2   Carolina; or China.

 3          11.     On information and belief, Defendant Yantaitianmingwangluokejiyouxiangongsi

 4   is a Chinese entity d/b/a Phil Baldinie. On further information and belief, Defendant

 5   Yantaitianmingwangluokejiyouxiangongsi personally participated in and/or had the right and

 6   ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and

 7   derived a direct financial benefit as a result of that wrongful conduct.

 8          12.     On information and belief, Defendant Wu Pianpian, d/b/a Hefei Yanzi Trading

 9   Company, is an individual who personally participated in and/or had the right and ability to

10   supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

11   direct financial benefit from that wrongful conduct. Based on information provided to Amazon

12   in connection with an Amazon Selling Account, he may reside in either Walnut, California;

13   Durham, North Carolina; or China.

14          13.     On information and belief, Defendant Hefeizanzishangmaoyouxiangongsi is a

15   Chinese entity d/b/a Hefei Yanzi Trading Company. On further information and belief,

16   Defendant Hefeizanzishangmaoyouxiangongsi personally participated in and/or had the right

17   and ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and

18   derived a direct financial benefit as a result of that wrongful conduct.

19          14.     On information and belief, Defendants Does 1-10 (the “Doe Defendants”) are

20   individuals and entities working in active concert with each other and the named Defendants to

21   knowingly and willfully manufacture, import, advertise, market, offer, and sell counterfeit

22   Ferragamo products. The identities of Does 1-10 are presently unknown to Plaintiffs.

23          15.     On information and belief, each Defendant has acted in concert with all

24   Defendants and other unknown parties to willfully advertise and sell counterfeit Ferragamo

25   products. These parties are related by common banking information, mutual addresses, similar

26   products, identical packaging, and indistinguishable tactics to evade detection, among other

27   indicators.

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                                 III.    JURISDICTION AND VENUE
 1
            16.     The Court has subject matter jurisdiction over Amazon’s and Ferragamo’s
 2
     Lanham Act claims for 1) trademark infringement; and 2) false designation and false
 3
     advertising pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a). The Court has
 4
     subject matter jurisdiction over Amazon’s and Ferragamo’s claim for violation of the
 5
     Washington Consumer Protection Act pursuant to 28 U.S.C. §§ 1332 and 1367.
 6
            17.     The Court has personal jurisdiction over all Defendants because they transacted
 7
     business and committed tortious acts within and directed to the State of Washington, and
 8
     Amazon’s and Ferragamo’s claims arise from those activities. Defendants affirmatively
 9
     undertook to do business with Amazon, a corporation with its principal place of business in
10
     Washington, and sold through the Amazon store products bearing counterfeit versions of the
11
     Ferragamo Trademarks and which otherwise infringed Ferragamo’s IP. Defendants shipped
12
     products bearing counterfeit versions of the Ferragamo Trademarks to consumers in
13
     Washington. Each of the Defendants committed, or facilitated the commission of, tortious acts
14
     in Washington and has wrongfully caused Amazon and Ferragamo substantial injury in
15
     Washington.
16
            18.     Further, the named Defendants have consented to the jurisdiction of this Court
17
     by agreeing to the Amazon Services Business Solutions Agreement (“BSA”), which provides
18
     that the “Governing Courts” for claims to enjoin infringement or misuse of intellectual property
19
     rights are state or federal courts located in King County, Washington.
20
            19.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a
21
     substantial part of the events giving rise to the claims occurred in the Western District of
22
     Washington.
23
            20.     Venue is proper in this Court also with respect to Defendants by virtue of the
24
     allegations stated in paragraph 16 above, which are incorporated herein.
25

26
27

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 1          21.     Pursuant to Local Civil Rule 3(d), intra-district assignment to the Seattle

 2   Division is proper because the claims arose in this Division, where (a) Amazon resides,

 3   (b) injuries giving rise to suit occurred, and (c) Defendants directed their unlawful conduct.

 4                                            IV.     FACTS
 5          A.      Amazon’s Efforts to Prevent the Sale of Counterfeit Goods
 6          22.     Amazon works hard to build and protect the reputation of its store as a place

 7   where customers can conveniently select from a wide array of authentic goods and services at

 8   competitive prices. Amazon invests a vast amount of resources to ensure that when customers

 9   make purchases through the Amazon store—either directly from Amazon or from one of its

10   millions of third-party sellers—customers receive authentic products made by the true

11   manufacturer of those products.

12          23.     A small number of bad actors seeks to take advantage of the trust customers

13   place in Amazon by attempting to create Amazon Selling Accounts to advertise, market, offer,

14   and sell counterfeit products. These bad actors seek to misuse and infringe the trademarks and

15   other IP of the true manufacturers of those products to deceive Amazon and its customers. This

16   unlawful and expressly prohibited conduct undermines the trust that customers, sellers, and

17   manufacturers place in Amazon, and tarnishes Amazon’s brand and reputation, thereby causing

18   irreparable harm to Amazon.

19          24.     Amazon prohibits the sale of inauthentic and fraudulent products and is

20   constantly innovating on behalf of customers and working with brands, manufacturers, rights

21   owners, and others to improve the detection and prevention of counterfeit products ever being

22   offered to customers through the Amazon store. Amazon employs dedicated teams of software

23   engineers, research scientists, program managers, and investigators to prevent counterfeits from

24   being offered in the Amazon store. Amazon’s systems automatically and continuously scan

25   thousands of data points to detect and remove counterfeits from its store and to terminate the

26   Selling Accounts of bad actors before they can offer counterfeit products. Each week Amazon

27   monitors more than 45 million pieces of feedback it receives from customers, rights owners,

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 1   regulators, and selling partners. When Amazon identifies issues based on this feedback, it

 2   takes action to address them. Amazon uses this intelligence also to improve its proactive

 3   prevention controls.

 4          25.      In 2017, Amazon launched the Amazon Brand Registry, a free service to any

 5   rights owner with a government-registered trademark, regardless of the brand’s relationship

 6   with Amazon. Brand Registry delivers automated brand protections that use machine learning

 7   to predict infringement and proactively protect brands’ IP. Brand Registry also provides a

 8   powerful Report a Violation Tool that allows brands to search for and accurately report

 9   potentially infringing products using state‐of-the‐art image search technology. More than

10   350,000 brands, including Ferragamo, are enrolled in Brand Registry, and those brands are

11   finding and reporting 99% fewer suspected infringements since joining Brand Registry.

12          26.      In 2018, Amazon launched Transparency, a product serialization service that

13   effectively eliminates counterfeits for enrolled products. Brands enrolled in Transparency can

14   apply a unique 2D code to every unit they manufacture, which allows Amazon, other retailers,

15   law enforcement, and customers to determine the authenticity of any Transparency-enabled

16   product, regardless of where the product was purchased. Since Transparency’s launch in 2018,

17   over 10,000 brands have enrolled, protecting brands and customers from counterfeits being sold

18   in the Amazon store.

19          27.      In 2019, Amazon launched Amazon Project Zero, a program to empower brands

20   to help Amazon drive counterfeits to zero. Amazon Project Zero introduced a novel self-

21   service counterfeit removal tool that enables brands to remove counterfeit listings directly from

22   the Amazon store. This enables brands to take down counterfeit product offerings on their own

23   within minutes. Since the program launched in 2019, over 10,000 brands have enrolled.

24          28.      In addition to these measures, Amazon actively cooperates with rights owners

25   and law enforcement to identify and prosecute bad actors suspected of engaging in illegal

26   activity. Lawsuits, like this one, are integral components of Amazon’s efforts to combat

27   counterfeits.

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            B.      Ferragamo and Its Anti-Counterfeiting Efforts
 1
            29.     Over the years Ferragamo has implemented a series of offline and online anti-
 2
     counterfeiting measures to protect its customers and the value of its brand. Its online
 3
     monitoring activities have enabled it to achieve significant results. More than 100,000 listings
 4
     of counterfeited products are identified, blocked and removed from online stores and
 5
     marketplaces on an annual basis. Ferragamo also carries out actions offline through court, out-
 6
     of-court, administrative and criminal proceedings and cooperates with enforcement authorities
 7
     all over the world.
 8
            30.     Ferragamo is currently enrolled in Amazon Brand Registry and Project Zero.
 9
     Ferragamo began actively using the tools and protections provided by these programs after and
10
     in response to the counterfeiting activity described in this Complaint.
11
            C.      Defendants Created Amazon Selling Accounts and Agreed Not to Sell
12                  Counterfeit Goods
13          31.     Defendants controlled and operated the two Amazon Selling Accounts detailed

14   in section D below through which they sought to advertise, market, sell, and distribute

15   counterfeit Ferragamo products. In connection with these Selling Accounts, Defendants

16   provided names, email addresses, and banking information for each account.

17          32.     Between 2019 and 2020, Defendants established two Amazon Selling Accounts

18   through which they sought to advertise, market, sell, and distribute counterfeit Ferragamo

19   products. When Defendants opened these two accounts, they provided names, addresses, and

20   banking information for each Account.

21          33.     The Selling Accounts have various common characteristics that make it

22   probable that the accounts are being operated by one or more of the Defendants acting in

23   concert. These common characteristics include 1) the identical tactic of using images of the

24   Ferragamo products without the Ferragamo word mark to evade Amazon’s Automated Brand

25   Protection algorithm; 2) the same Chinese-issued Visa credit card number; 3) selling the same

26   Ferragamo counterfeit belts; 4) using identical packaging for the Ferragamo counterfeit

27   products; and 5) sharing the same removal address in Walnut, California.

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 1            34.   To become a third-party seller in the Amazon store, sellers are required to agree

 2   to the BSA, which governs the applicant’s access to and use of Amazon’s services and states

 3   Amazon’s rules for selling through the website. By entering into the BSA, each seller

 4   represents and warrants that it “will comply with all applicable laws in [the] performance of

 5   [its] obligations and exercise of [its] rights” under the BSA. A true and correct copy of the

 6   applicable version of the BSA, namely, the version when Defendants last used Amazon’s

 7   Services, is attached as Exhibit B.

 8            35.   The BSA incorporates, and sellers therefore agree to be bound by, Amazon’s

 9   Anti-Counterfeiting Policy, the applicable version of which is attached as Exhibit C. The

10   Anti-Counterfeiting Policy expressly prohibits the sale of counterfeit goods in the Amazon

11   store:

12                     The sale of counterfeit products is strictly prohibited.
13                     You may not sell any products that are not legal for sale, such
                        as products that have been illegally replicated, reproduced, or
14                      manufactured[.]
15                     You must provide records about the authenticity of your
                        products if Amazon requests that documentation[.]
16
                    Failure to abide by this policy may result in loss of selling
17                  privileges, funds being withheld, destruction of inventory in our
                    fulfilment centers, and other legal consequences.
18
     Id.
19
              36.   Amazon’s Anti-Counterfeiting Policy further describes Amazon’s commitment
20
     to preventing the sale and distribution of counterfeit goods in the Amazon store together with
21
     the consequences of doing so:
22
                       Sell Only Authentic and Legal Products. It is your
23                      responsibility to source, sell, and fulfill only authentic products
                        that are legal for sale. Examples of prohibited products include:
24
                        o Bootlegs, fakes, or pirated copies of products or content
25
                        o Products that have been illegally replicated, reproduced, or
26                        manufactured
27

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                        o Products that infringe another party’s intellectual property
 1                        rights
 2                     Maintain and Provide Inventory Records. Amazon may request
                        that you provide documentation (such as invoices) showing the
 3                      authenticity of your products or your authorization to list them
                        for sale. You may remove pricing information from these
 4                      documents, but providing documents that have been edited in
                        any other way or that are misleading is a violation of this
 5                      policy and will lead to enforcement against your account.
 6                     Consequences of Selling Inauthentic Products. If you sell
                        inauthentic products, we may immediately suspend or
 7                      terminate your Amazon selling account (and any related
                        accounts), destroy any inauthentic products in our fulfillment
 8                      centers at your expense, and/or withhold payments to you.
 9                     Amazon Takes Action to Protect Customers and Rights
                        Owners. Amazon also works with manufacturers, rights
10                      holders, content owners, vendors, and sellers to improve the
                        ways we detect and prevent inauthentic products from reaching
11                      our customers. As a result of our detection and enforcement
                        activities, Amazon may:
12
                        o Remove suspect listings.
13
                        o Take legal action against parties who knowingly violate
14                        this policy and harm our customers. In addition to criminal
                          fines and imprisonment, sellers and suppliers of inauthentic
15                        products may face civil penalties including the loss of any
                          amounts received from the sale of inauthentic products, the
16                        damage or harm sustained by the rights holders, statutory
                          and other damages, and attorney’s fees.
17
                       Reporting Inauthentic Products. We stand behind the products
18                      sold on our site with our A-to-z Guarantee, and we encourage
                        rights owners who have product authenticity concerns to notify
19                      us. We will promptly investigate and take all appropriate
                        actions to protect customers, sellers, and rights holders. You
20                      may view counterfeit complaints on the Account Health page
                        in Seller Central.
21
     Id.
22
            37.     When they registered as third-party sellers in the Amazon store, and established
23
     their Selling Accounts, Defendants agreed not to advertise, market, offer, sell or distribute
24
     counterfeit products.
25

26
27

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            D.      Inspection of Inventory from Defendants’ Selling Accounts
 1
            38.     Defendants advertised, marketed, offered, and sold Ferragamo-branded products
 2
     in the Amazon store. Amazon and Ferragamo have inspected multiple test products from the
 3
     Defendants’ Selling Accounts and Ferragamo determined that each product bears its counterfeit
 4
     registered trademarks.
 5
            Selling Account #1 – Phil Baldinie
 6
            39.     At all times described herein, Selling Account Phil Baldinie was controlled and
 7
     operated by Defendants Li Yong, Yantaitianmingwangluokejiyouxiangongsi and, on
 8
     information and belief, other parties, known and unknown.
 9
            40.     The product photo on the offer listing page of Selling Account Phil Baldinie
10
     advertised a product bearing Ferragamo figurative trademarks, but omitted the Ferragamo word
11
     mark from the product photo in an apparent effort to evade Amazon’s anti-counterfeiting
12
     detection tools:
13

14

15

16

17

18

19                              Product photo from Phil Baldinie seller page listing
                                         that omits Ferragamo word mark
20

21
            41.     When Amazon inspected the inventory of physical product of Selling Account
22
     Phil Baldinie that was connected to the listing, however, the Ferragamo word mark was present
23
     on the physical product. The inventory was boxed within a package branded “Your Best
24
     Choice.” Ferragamo compared the products and packaging to its authentic products and
25
     packaging and determined there were distinct differences in construction and details. A
26
     depiction comparing the counterfeit product and packaging supplied by Defendants with an
27

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 1   authentic version of the product and packaging follows:

 2

 3

 4

 5

 6

 7                                                                   Image of genuine Ferragamo product


 8
             Image of Phil Baldinie counterfeit product containing
 9                          Ferragamo word mark

10

11

12

13

14

15

16
                      Image of Phil Baldinie packaging               Image of Ferragamo packaging
17

18          Selling Account #2 – Hefei Yanzi Trading Company

19          42.       At all times described herein, Selling Account Hefei Yanzi Trading Company

20   was controlled and operated by Defendant Wu Pianpian, Defendant

21   Hefeizanzishangmaoyouxiangongsi and, on information and belief, other parties, known and

22   unknown.

23          43.       Like the Phil Baldinie offer listing page, the Hefei Yanzi Trading Company

24   offer listing page removed the Ferragamo word mark from the image of the product in an

25   apparent effort to evade Amazon’s counterfeit detection tools:

26
27

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 7
                                            Product photo from Hefei Yanzi Trading Company
 8                                          seller page listing that omits Ferragamo word mark

 9
            44.        When Amazon inspected the inventory of Selling Account Hefei Yanzi Trading
10
     Company that was connected to the listing, however, the Ferragamo word mark was present on
11
     the physical products. The inventory was boxed within a package branded “Your Best
12
     Choice.” Ferragamo compared the products to its authentic products and determined there
13
     were distinct differences in construction and details. A depiction comparing the counterfeit
14
     product supplied by Defendants with an authentic version of the product follows:
15

16

17

18

19

20

21

22
                 Image of Hefei Yanzi Trading Company counterfeit                          Genuine Ferragamo product
23                   product containing Ferragamo word mark

24
            E.         Defendants’ Coordinated Sale of Counterfeit Ferragamo Products
25          45.        On information and belief, Defendants operated in concert with one another in
26   their counterfeiting activities, based on common characteristics that make it probable that these
27   accounts are being operated by one or more of the Defendants acting in concert. These

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 1   common characteristics include 1) employing the identical tactic of using images of the

 2   Ferragamo products without the Ferragamo word mark on the product description in the offer

 3   listing page in an apparent attempt to evade Amazon’s counterfeit detection tools; 2) using the

 4   same Chinese issued Visa credit card number; 3) selling the same Ferragamo counterfeit belts;

 5   4) using identical packaging for the Ferragamo counterfeit products; 5) using the same evasive

 6   practices to avoid having the accounts blocked; and 6) sharing the same removal address in

 7   Walnut, California.

 8          F.      Amazon and Ferragamo Shut Down Defendants’ Accounts
 9          46.     By selling counterfeit Ferragamo products, Defendants falsely represented to

10   Amazon and its customers that the products Defendants sold were genuine products made by

11   Ferragamo. Defendants also knowingly and willfully used Ferragamo’s IP in connection with

12   the advertisement, marketing, distribution, offering for sale, and sale of counterfeit Ferragamo

13   products.

14          47.     At all times, Defendants knew they were prohibited from violating third-party IP

15   rights or any applicable laws while selling products in the Amazon store. Defendants have

16   deceived Amazon’s customers and Amazon, infringed and misused the IP rights of Ferragamo,

17   harmed the integrity of and customer trust in the Amazon store, and tarnished Amazon’s and

18   Ferragamo’s brands.

19          48.     Amazon, after receiving notice from Ferragamo, verified Defendants’ unlawful

20   sale of counterfeit Ferragamo products and promptly blocked Defendants’ Selling Accounts. In

21   doing so, Amazon exercised its rights under the BSA to protect customers and the reputations

22   of Amazon and Ferragamo.

23                                            V.    CLAIMS
24                                         FIRST CLAIM
                                (by Ferragamo against all Defendants)
25                           Trademark Infringement – 15 U.S.C. § 1114
26          49.     Plaintiff Ferragamo incorporates by reference the allegations of the preceding

27   paragraphs as though set forth herein.

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 1          50.     Defendants’ activities constitute infringement of the Ferragamo Trademarks as

 2   described in the paragraphs above.

 3          51.     Ferragamo advertises, markets, offers, and sells its products using the

 4   Ferragamo Trademarks described above and uses those trademarks to distinguish its products

 5   from the products and related items of others in the same or related fields.

 6          52.     Because of Ferragamo’s long, continuous, and exclusive use of the Ferragamo

 7   Trademarks identified in this Complaint, the trademarks have come to mean, and are

 8   understood by customers and the public to signify, products from Ferragamo.

 9          53.     Defendants unlawfully advertised, marketed, offered, and sold products bearing

10   counterfeit versions of the Ferragamo Trademarks with the intent and likelihood of causing

11   customer confusion, mistake, and deception as to the products’ source, origin, and authenticity.

12   Specifically, Defendants intended customers to believe, incorrectly, that the products originated

13   from, were affiliated with, and/or were authorized by Ferragamo and likely caused such

14   erroneous customer beliefs.

15          54.     As a result of Defendants’ wrongful conduct, Ferragamo is entitled to recover its

16   actual damages, Defendants’ profits attributable to the infringement, and treble damages and

17   attorney fees pursuant to 15 U.S.C. § 1117(a) and (b). Alternatively, Ferragamo is entitled to

18   statutory damages under 15 U.S.C. § 1117(c).

19          55.     Ferragamo is further entitled to injunctive relief, including an order impounding

20   all infringing products and promotional materials in Defendants’ possession. Ferragamo has no

21   adequate remedy at law for Defendants’ wrongful conduct because, among other things: (a) the

22   Ferragamo Trademarks are unique and valuable property that have no readily determinable

23   market value; (b) Defendants’ infringement constitutes harm to Ferragamo and Ferragamo’s

24   reputation and goodwill such that Ferragamo could not be made whole by any monetary award;

25   (c) if Defendants’ wrongful conduct is allowed to continue, the public is likely to become

26   further confused, mistaken, or deceived as to the source, origin, or authenticity of the infringing

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 1   materials; and (d) Defendants’ wrongful conduct, and the resulting harm to Ferragamo, is likely

 2   to be continuing.

 3                                       SECOND CLAIM
                               (by Ferragamo against all Defendants)
 4             False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
 5          56.     Plaintiff Ferragamo incorporates by reference the allegations of the preceding

 6   paragraphs as though set forth herein.

 7          57.     Ferragamo owns the Ferragamo Trademarks and advertises, markets, offers, and

 8   sells its products using the trademarks described above and uses the trademarks to distinguish

 9   its products from the products and related items of others in the same or related fields.

10          58.     Because of Ferragamo’s long, continuous, and exclusive use of the Ferragamo

11   Trademarks, they have come to mean, and are understood by customers, end users, and the

12   public, to signify products from Ferragamo.

13          59.     Defendants’ wrongful conduct includes the infringement of the Ferragamo

14   Trademarks in connection with Defendants’ commercial advertising or promotion, and offering

15   for sale and sale, of counterfeit Ferragamo products in interstate commerce.

16          60.     In advertising, marketing, offering, and selling products bearing counterfeit

17   versions of the Ferragamo Trademarks, Defendants have used, and on information and belief

18   continue to use, the Ferragamo Trademarks to compete unfairly with Ferragamo and to deceive

19   customers. Upon information and belief, Defendants’ wrongful conduct misleads and confuses

20   customers and the public as to the origin and authenticity of the goods and services advertised,

21   marketed, offered, or sold in connection with the Ferragamo Trademarks and wrongfully trades

22   upon Ferragamo’s goodwill and business reputation.

23          61.     Defendants’ conduct constitutes (a) false designation of origin, (b) false or

24   misleading description, and (c) false or misleading representation that products originate from

25   or are authorized by Ferragamo, all in violation of 15 U.S.C. § 1125(a)(1)(A).

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 1          62.        Defendants’ conduct also constitutes willful false statements in connection with

 2   goods and/or services distributed in interstate commerce in violation of 15 U.S.C.

 3   § 1125(a)(1)(B).

 4          63.        Ferragamo is entitled to an injunction against Defendants, their officers, agents,

 5   representatives, servants, employees, successors and assigns, and all other persons in active

 6   concert or participation with them, as set forth in the Prayer for Relief below. Defendants’ acts

 7   have caused irreparable injury to Ferragamo. The injury to Ferragamo is irreparable, and on

 8   information and belief, is continuing. An award of monetary damages cannot fully compensate

 9   Ferragamo for its injuries, and Ferragamo lacks an adequate remedy at law.

10          64.        Ferragamo is further entitled to recover Defendants’ profits, Ferragamo’s

11   damages for its losses, and Ferragamo’s costs to investigate and remediate Defendants’ conduct

12   and bring this action, including its attorney’s fees, in an amount to be determined. Ferragamo

13   is also entitled to the trebling of any damages award as allowed by law.

14                                        THIRD CLAIM
                                 (by Amazon against all Defendants)
15             False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
16          65.        Plaintiff Amazon incorporates by reference the allegations of the preceding

17   paragraphs as though set forth herein.

18          66.        Amazon’s reputation for trustworthiness is at the heart of its relationship with

19   customers. Defendants’ actions in selling counterfeits pose a threat to Amazon’s reputation

20   because they undermine and jeopardize customer trust in the Amazon store.

21          67.        Specifically, Defendants deceived Amazon and its customers about the

22   authenticity of the products they were advertising, marketing, offering, and selling, in direct

23   and willful violation of the BSA and Amazon’s Anti-Counterfeiting Policies. Defendants’

24   deceptive acts were material to Amazon’s decision to allow Defendants to sell their products in

25   the Amazon store because Amazon would not have allowed Defendants to do so but for their

26   deceptive acts.

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 1          68.     In advertising, marketing, offering, and selling counterfeit Ferragamo products

 2   in the Amazon store, Defendants made false and misleading statements of fact about the origin,

 3   sponsorship, or approval of those products in violation of 15 U.S.C. § 1125(a)(1)(A).

 4          69.     Defendants’ acts also constitute willful false statements in connection with

 5   goods and/or services distributed in interstate commerce in violation of 15 U.S.C.

 6   § 1125(a)(1)(B).

 7          70.     As described above, Defendants, through their illegal acts, have willfully

 8   deceived Amazon and its customers, jeopardized the trust that customers place in the Amazon

 9   store, tarnished Amazon’s brand and reputation, and harmed Amazon and its customers.

10   Defendants’ misconduct has also caused Amazon to expend significant resources to investigate

11   and combat Defendants’ wrongdoing and to bring this lawsuit to prevent Defendants from

12   causing further harm to Amazon and its customers. Defendants’ illegal acts have caused

13   irreparable injury to Amazon and, on information and belief, that injury is ongoing at least to

14   the extent that Defendants continue to establish seller accounts under different or false

15   identities. An award of monetary damages alone cannot fully compensate Amazon for its

16   injuries, and thus Amazon lacks an adequate remedy at law.

17          71.     Amazon is entitled to an injunction against Defendants, their officers, agents,

18   representatives, servants, employees, successors and assigns, and all other persons in active

19   concert or participation with them, as set forth in the Prayer for Relief below, along with its

20   attorneys’ fees and costs in bringing this lawsuit.

21                                       FOURTH CLAIM
                          (by Ferragamo and Amazon against all Defendants)
22           Violation of Washington Consumer Protection Act, RCW 19.86.010, et seq.
23          72.     Plaintiffs incorporate by reference the allegations of the preceding paragraphs as

24   though set forth herein.

25          73.     Defendants’ advertising, marketing, offering, and selling of counterfeit

26   Ferragamo products constitute an unfair method of competition and unfair and deceptive acts or

27   practices in the conduct of trade or commerce, in violation of RCW 19.86.020.

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 1          74.     Defendants’ advertising, marketing, offering, and selling of counterfeit

 2   Ferragamo products harms the public interest by deceiving customers about the authenticity,

 3   origins, and sponsorship of the products.

 4          75.     Defendants’ advertising, marketing, offering, and selling of counterfeit

 5   Ferragamo products directly and proximately causes harm to and tarnished Plaintiffs’

 6   reputations and brands, and damages their business and property interests and rights.

 7          76.     Accordingly, Plaintiffs seek to enjoin further violations of RCW 19.86.020 and

 8   recover their attorneys’ fees and costs. Ferragamo further seeks to recover its actual damages,

 9   trebled.

10                                   VI.    PRAYER FOR RELIEF
11          WHEREFORE, Plaintiffs respectfully pray for the following relief:

12          A.      That the Court issue an order permanently enjoining Defendants, their officers,

13   agents, representatives, servants, employees, successors, and assigns, and all others in active

14   concert or participation with them, from:

15                  (i)     selling products in the Amazon store;

16                  (ii)    selling products to Amazon or any affiliate;

17                  (iii)   opening or attempting to open any Amazon Selling Accounts;

18                  (iv)    manufacturing, distributing, offering to sell, or selling any product using

19                          Ferragamo’s brand or trademarks, or which otherwise infringes

20                          Ferragamo’s intellectual property, on any platform or in any medium;

21                  (v)     assisting, aiding or abetting any other person or business entity in

22                          engaging or performing any of the activities referred to in subparagraphs

23                          (i) through (iv) above;

24          B.      That the Court enter judgment in Plaintiffs’ favor on all claims brought by them;

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 1          C.      That the Court enter an order pursuant to 15 U.S.C. § 1116 impounding all

 2   counterfeit and infringing products bearing the Ferragamo Trademarks or that otherwise

 3   infringe Ferragamo’s IP, and any related materials, including business records, in Defendants’

 4   possession or under their control;

 5          D.      That the Court enter an order requiring Defendants to provide Plaintiffs a full

 6   and complete accounting of all amounts due and owing to Plaintiffs as a result of Defendants’

 7   unlawful activities;

 8          E.      That Defendants be required to pay all general, special, and actual damages

 9   which Ferragamo has sustained, or will sustain as a consequence of Defendants’ unlawful acts,

10   together with statutory damages, and that such damages be enhanced, doubled, or trebled as

11   provided for by 15 U.S.C. § 1117(b), RCW 19.86.020, or otherwise allowed by law;

12          F.      That Defendants be required to pay the costs of this action and Plaintiffs’

13   reasonable attorneys’ fees incurred in prosecuting this action, as provided for by 15 U.S.C.

14   § 1117, RCW 19.86.020, or otherwise allowed by law; and

15          G.      That the Court grant Plaintiffs such other, further, and additional relief as the

16   Court deems just and equitable.

17          DATED this 11th day of February, 2021.

18                                                     DAVIS WRIGHT TREMAINE LLP
                                                       Attorneys for Plaintiffs
19

20                                                         By s/ Scott R. Commerson
                                                           Scott R. Commerson (pro hac vice
21                                                         application forthcoming)
22                                                         865 South Figueroa Street, Suite 2400
                                                           Los Angeles, CA 90017-2566
23                                                         Tel: (213) 633-6800
                                                           Fax: (213) 633-6899
24                                                         Email: scottcommerson@dwt.com
25                                                         s/ Anna R. Buono
                                                           Anna R. Buono, WSBA #56580
26
                                                           920 Fifth Avenue, Suite 3300
27                                                         Seattle, WA 98104-1604

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                                                Tel: (206) 622-3150
 1                                              Fax: (206) 757-7700
                                                Email: annabuono@dwt.com
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